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                           UN ITED STA TES D ISTRICT C O U R T
                           SO U TH ER N DISTRICT O F FLO R IDA

                                  No. /7- 7 ::z--c?h %
  U N ITED STA TE S O F A M ERIC A

  VS.

  LU IS G USTA VO M O R EN O R IV ER A and
  LEO NA R DO LUIS PINILLA G O M EZ,

        D efendants.
                                                /

                                 C RIM IN A L CO VER SH EE T


        D id thism atteroriginatefrom a m atterpending in theN orthern Region ofthe U nited States
        A ttorney's O ffice priorto O ctober 14,2003?            Y es        X       No

        Did this m atteroriginate from a m atterpending in the CentralRegion ofthe United States
        A ttolmey's O ffice priorto Septem ber 1,2007?               Yes       X      No


                                                     Respectfully subm itted,

                                                     BEN JA M IN G .GR EEN BERG
                                                     A CTIN G UN ITED STA TES A TTORN EY
                                                              ,.,#'   *'        ...



                                               By:
                                                     JU       .G O      LEZ,JR .
                                                         lstantU nited StatesA ttom ey
                                                     Florida BarN o.0897388
                                                     l1200 N W 20th street, Suite 101
                                                     M iam i,Florida 33172
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                                                     Fax:(305)715-7639
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AO 91(Rev.08/09) CriminalComplaint

                                 U NITED STATES D ISTRICT C OURT
                                                        forthe
                                             Southern DistrictofFlorida

               United StatesofAmerica                     )
                            V.                            )
                                                          )     caseNo. l7- 'T.yî9 -cm O
           Luis Gustavo Moreno Rivera and                 )
            Leonardo Luis Pinilla G om ez,                )
                                                          )

                                             CRIM INAL COM PLAINT

        1,thecomplainantin thiscase,state thatthefollowing istrueto the bestofmy knowledgeand belief.
Onoraboutthedatets)of     Mayof2017tothe present     inthecountyof                        Miami
                                                                                              -Dade             inthe
  Southern     Districtof      Florida       ,thedefendantts)violated:
           CodeSection                                            OffenseDescription
18 U.S.C.j 1956(h)                      Conspiracy tocom m itmoneyIaundering




        Thiscriminalcomplaintisbased on thesefacts:
See AttachedAffidavit




        W Continuedontheattachedsheet.


                                                                          .        omplainant'
                                                                                             ssignature

                                                                          Yasm any Cepero,SpecialAqent
                                                                                   Printednameand title

Sworn to beforemeand signed in my presence.


oate:J : xi 2 3 w tn                                                           .
                                                                                                          -4'
                                                                                    Judge'
                                                                                         ssi
                                                                                           gnature

City and state'
              .                                                   Chris M.McAliley,United States Maqistrate Judqe
                                                                                   Printed nameandtitle
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                  A FFID A VIT IN SU PPO R T O F C R IM IN A L C O M PLAIN T

  Youraffiant,YasmanyCepero(theççaffianf'),firstbeingdulysworn,statesasfollows:
         lam a SpecialAgentwith theDrug EnforcementAdministration (DEA)and havebeen
  em ployed in such capacity since2011.A ssuch,lam an investigative and law enforcem entofticer

  ofthe U nited States em powered by law to conductinvestigations ofand m ake arrests for offenses

  enum erated in the U nited StatesCode.Iam currently assigned to the M iam iField D ivision. Since

  joining the DEA,Ihave personally participated in numerousinvestigations offederallawsto
  include narcotics,m oney laundering,w ire fraud,and racketeering violations.

         lm akethisaffidavitbased on m y own personalknow ledge,aswellasinfonuation provided

  to m e by otherlaw enforcem entofficers and civilians. Because thisaffidavitis subm itted for the

  lim ited purpose of establishing probable cause for a crim inal com plaint charging Luis Gustavo

  M orenoRivera(M oreno)andLeonardoLuisPinillaGomez(Pinilla)withConspiracyto Commit
  M oney Laundering,in violation ofTitle 18,United StatesCode,Section 1956(h),itdoesnot
  contain a11the factsknow n to m e concerning this investigation.

         Thisinvestigationinvolvedtheuseofacooperatingsourceofinformation(theCS).
  The CS w as a practicing attorney in the country of Colom bia,South A m erica prior to

  becom ing the Governor for the region ofCordoba in Colom bia. The C S no longer holds

  thisposition.Tluoughoutthisinvestigation,theinfonnation provided by the CS hasproven

  to be reliable. Ihavebeen able to corroboratem uch ofthe C S's inform ation,often through

  recorded com m unicationsbetw een the CS,M oreno and Pinilla.

         During the CS's tenure as G overnor, he becam e the target of a cornlption

  investigatibnspearheadedbytheAttorneyGeneral(AG)ofColombia.l Consistentwith


  1The C S, through his C olom bian attorney,has been in discussions w ith the Colom bian A G to
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  Colom bian law ,the C S,ifcharged,would be prosecuted by a delegate ofthe A G because

  of his position as a G overnor. His co-conspirators,how ever,are being investigated and

  prosecuted by the office ofAnti-corruption fortheA ttorney G eneral'sO ffice ofColom bia.

  TheDirectorofthisOfticeisM oreno. Theevidence gathered by M oreno'softiceand the

  w itnessesdeveloped during hisinvestigation w ould form the crux ofthe A G 'sprosecution

  againstthe CS.

         Pinilla is an attorney practicing in Colom bia,South A m erica. H e,M oreno and the

  CS w ere acquaintancesthrough theirwork aslitigating attorneyspliorto the C S becom ing

  a G overnorand M oreno assum ing hiscurrentposition.

         The CS reported that som etim e in N ovem ber 2016,in Colom bia,Pinilla approached the

  CS w ith a m essage from M oreno indicating thatM oreno w asw illing to use his officialposition to

  obstnlctthe corruption investigation againstthe C S in exchange for a fee. The C S further stated

  that som etim e in February or M arch 2017,M oreno and Pinilla w ent to the C S's apartm ent in

  Colom bia w here M oreno,in an effortto entice a bribe from the CS,disclosed to the CS thatthree

  ofthe C S'sco-defendantshad been g'
                                    ranted im m unity to testify againstthe C S. M oreno disclosed

  the identity oftwo of the three cooperators. M oreno offered to continue providing the CS w ith

  confidentialinfonnationrelatedtothecriminalcaseagainsthim (theCS)bywayofPinillainorder
  to assistthe CS in developing a defense strategy to defeatthe charges againsthim .

         Som etim e afterthis m eeting,Pinilla contacted the C S on behalfof M oreno and asked the

  CS forabribein the amountofl00 million Colombian pesos(approximately $34,500 US)in
  exchange forcopies ofsw orn statem entstaken from cooperators thathad testified againstthe C S.



  plead g'uilty to Colom bian corruption charges and cooperate againsthisco-conspirators.
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         Subsequentto this,on A pril26,2017,the CS and his fam ily traveled to M iam iin orderto

  facilitatetheCS'swife'shigh-riskpregnancy.SinceAplil26,2017,he(theCS)hasremainedin
  M lam l.

         A fter his arrival in M iam i, the C S,through his Colom bian attom ey, contacted the

  Colom bian A G and the D EA regarding M oreno and Pinilla. Atthe direction oflaw enforcem ent

  and w ith the concurrence ofthe Colom bia A G ,the C S continued his conversations w ith Pinilla.

  These conversations,w hich w ere prim arily via encrypted cell phone m essaging services,w ere

  captured and recorded by theDEA.

         On M ay 26,2017,shortly afterPinillatraveled to M iam ito m eetw ith the CS,a controlled,

  recorded m eeting w ith Pinilla occurred atthe Dolphin M allin Doral,Florida. D EA investigators

  conducted sulweillance during the duration of this m eeting and equipped the CS w ith audio

  recording devices. In addition,surveillance photographsw ere taken ofthe CS and Pinilla asthey

  conducted the m eeting. D uring the m eeting,Pinilla referenced the initialm eeting hehad w ith the

  CS and M oreno atthe CS's apartm entin Colom bia and confirm ed thathe and M oreno m ay still

  bewillingtohelptheCS,butthathe(Pinilla)wouldhavetocontactM oreno to confirm because
  theCShadnotpaidthem (M orenoandPinilla)anymoneyyet.PinillaaddedthatM orenothought
  the case againstthe CS w as getting strongerand thatthe CS'sarrestwas im m inent. Pinilla added

  thatM oreno w ould arrange everything and pay whoeverneeded to be paid to take care ofthe CS's

  legaltroubles,butthathe(Moreno)needed confirmation from theCS thathewasseliousabout
  continuing the negotiations.

         Pinilla added thatthe idealstrategy w ould be to find w aysto discreditthe w itnessesw ho

  aretestifyingagainsttheCS and addedthathe(Pinilla)hadutilizedthatsamestrategy andother
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  strategies successfully during other acts of cornlption thathe and M oreno had perpetrated in the

  past. Pinilla furtherconfirm ed thatM oreno w anted to be paid forhis selwicesthrough Pinilla.

         A fter the aforem entioned m eeting in Doral, Florida, the CS and Pinilla continued to

  com m unicate via encrypted m essages w hereby Pinilla w ould relay m essages to the CS from

  M oreno aboutcontinuing the negotiations.

         On June 15, 2017, M oreno travelled to M iam i, Florida to give an anti-cornlption

  presentationtothelntenzalRevenueSelwice(1RS).Priortothis,PinillatoldtheCSthathe(Pinilla)
  w ould also travel to M iam ion the sam e date. Pinilla told the C S that M oreno w anted to take

  advantage ofhisofficialtrip to m eetw ith the C S to furtherthe bribery negotiations.

         On June 15, 2017, the CS conducted a controlled, recorded m eeting w ith Pinilla and

  M oreno in the vicinity ofthe La Quinta lnn in Doral,Florida. DEA agentsconducted visual
  surveillance throughoutthe duration of this m eeting and equipped the CS w ith audio recording

  devices. ln addition,a sulweillancephotograph w astaken ofPinilla and M oreno asthey conducted

  the m eeting. During them eeting,w hich w asheld in the CS'scaratvariouslocationsin thevicinity

  oftheLaQuintallm,M orenotoldtheCSthathehadthepowertojudiciallycontrolhow theCS's
  investigation w ould proceed. M oreno disclosed to the CS that additional allegations of fraud

  committed by the CS had been referred to his (M oreno's)office for investigation. M oreno
  indicated these allegations involved a bribe of300 m illion pesospurportedly received by the C S.

  M oreno stated thatwitnesseshad testified the CS had sentdelegates to collectthis bribe m oney.

  M oreno identified one ofthese w itnessesby nam e.

         During the conversation,M oreno indicated thatthe prosecutor assigned to the C S's case

  intended to charge the 'fl-lappy Lora Coliseum '' investigation and the ççpuente V alencia''

  investigation. M oreno provided the nam e ofone ofthe w itnesses in the ttl-
                                                                             lappy Lora Coliseum ''
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  investigation and stated that the witness testified about irregularities in billing related to that

  project.M orenothen askedPinillatotaketheCS'scellphonesfrom him andplacethem onthe
  hood of the vehicle so thatthey can continue to speak inside the vehicle w ithout fear of being

  recorded. Oncethiswasdone,M oreno disclosed theprosecution'stheory and strategy to theCS

  and addedthattheCS couldusetheinformation he(M oreno)provided topreparehis(theCS's)
  defense. The C S attem pted to discuss paym ent of the bribe to M oreno,but M oreno insisted he

  (the CS) discuss the issue with Pinilla,which,according to the CS,M oreno communicated
  nonverbally w ith hand gestures. Pinilla asked M oreno to tellthe CS whatM oreno had been told

  related to the CS'scooperation. M oreno indicated thata high levelofticialw ithin the C olom bian

  govermnenthad told M oreno thatthe CS w as cooperating w ith federalauthorities in the United

  States.z

         A tone pointduring the m eeting,after the cellphones had been placed on the hood ofthe

  car, the car w as m oved and the cellphones fell off the hood. M oreno becam e agitated and

  demanded thatthe CS'sphonesbe found because ofthe incriminating information (encrypted
  communications)theycontain.Shortlyafterthis,M oreno discoveredanadditionalcellphonethe
  CS had secreted within the vehicle. M oreno accused the CS ofrecording the conversation and

  began to contradict him self stating he w as not asking for m oney and that he w as sharing

  informationwiththeCSbecausehewantedtoavoidaninjusticeintheCS'scase.
         Shortly thereafter,M orenoendedtheconversationandwasdropped offattheLaQuinta
  Inn.Before departing,Pinilla m etw ith M oreno in private,aw ay from the C S. Once M oreno left,

  Pinilla told the CS thatM oreno w as upsetbecause the CS broughtup the blibe paym entdirectly


  2 Based on the lim ited num ber ofpeople w ith knowledge of this factand M oreno and Pinilla's
  subsequentactions,l do notbelieve M oreno w as actually aware of the investigation. Rather,1
  believe he said thisto see how the CS w ould react.
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  w ith him and thathe insisted thatthe blibe paym entsbe discussed w ith Pinilla as an intenuediary.

  Pinillatold the CS thathe (Pinilla)excused the CS'sactionsto M oreno by telling him thathe
  (Pinilla)hadauthorizedtheCStospeakaboutthebribepaymentdirectlywithM orenoaslongas
  he(theCS)usedcodedlanguagesuchasçklosdocumentos''(thedocuments)torefertothemoney.
  Pinilla added thatM oreno w as concerned aboutthe discovery ofthe hidden cellphone and that

  M oreno had a lotto lose. Pinilla then added thatM oreno w anted the CS to pay him a bribe in the

  sum of$20,000 whilehe(M oreno)wasinM iamibutthatthe$20,000 sum isseparatefrom the
  400 million Colombian pesos (the equivalent ofapproximately $132,000 US) M oreno was
  charging for the assistance he is providing the CS. The C S agreed, but insisted he w anted

  confirm ation thatthe m oney w as,in fact,being given to M oreno. Pinilla then confirm ed thathe

  and the CS w ould deliverthe m oney to M oreno the follow ing day.

         On June 16,2017,the DEA photographed and serialized $10,000 of officialfunds and

  placedthefundsinalargeyellow manilaenvelope(thefundsenvelope).Thefundsenvelopewas
  provided to the CS in anticipation ofhis m eeting w ith Pinilla and M oreno laterthatday. On the

  sam e date, the CS conducted a controlled, recorded m eeting w ith Pinilla and M oreno at the

  D olphin M allin D oral,Florida. D EA investigatorsconducted surveillance during the duration of

  this m eeting and equipped the CS w ith audio recording devices. ln addition, surveillance

  photographs w ere taken ofthe CS,Pinilla and M oreno asthey conducted the m eeting.

         The CS and Pinilla drove to the m eeting together. Pliorto M oreno's arrival,the C S told

  Pinilla that allhis ftm dsw ere located here in the U S. Pinilla then stated that M oreno wanted a

  totalof$40,000 delivered to him whilehe(M oreno)wasstillin M iami. TheCS thenreiterated
  thata11ofhisfundswereintheUS andthatthey (PinillaandM oreno)neededtoinstrud him on
  how they w anted itdelivered to Colom bia. Pinilla further indicated thathe expected M oreno to
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  provide him with confidential inform ation related to the C S's case in the follow ing w eek and

  encouragedtheCStopayhim (M oreno)halftherequestedamountbythen.
         PinillainstructedtheCS thathe(Pinilla)wouldmeetMoreno in themallwithin sightof
  the C S. Pinilla and M oreno w ould walk to the bathroom w here Piniella w ould give the funds

  envelope to M oreno. The C S w asto w alk behind them into the bathroom where M oreno w ould

  acknowledge receiptofthe m oney.

         A gents observed Pinilla ashe walked through the D olphin M allwhile holding the funds

  envelope. H e m et w ith M oreno and both w alked to the bathroom w ith the C S follow ing.

  Im m ediately afterentering the bathroom Pinilla and M oreno w alked outw ith Pinilla stillholding

  the funds envelope. They then indicated to the CS he should go to the car.3

         A llthree m en - M oreno,Pinillaand the C S - w alked outofthe D olphin M alland entered

  the CS'svehicle. A tthe tim e,Pinilla w as stillin possession ofthe fundsenvelope. W hile in the

  vehicle,the CS,Pinilla,and M oreno engaged in conversation. D uring the conversation,M oreno

  told the C S thatitisnotconvenientforhim to continue m eeting the CS in person and thatitis not

  necessaryforhim (M oreno)tobepresentinsubsequentmeetingsbetweentheCSandPinilla.He
  added the C S should understand that any agreem ent m ade by Pinilla has been ratified by him

  (M oreno).M oreno then statedthateverythingelse(relating totheblibepayment)couldbedone
  by w ay ofPinilla. M oreno then added thathe intends to saturate the prosecutors thatw ork under

  him w ith a g'
               reatdealofunrelated casework to distractthem from engaging in the CS'scase.

         Once M oreno got out of the vehicle w ith Pinilla, sulweillance observed that the funds

  envelope w as now in the possession ofM oreno. A fter a brief conversation,M oreno and Pinilla




  3 Agentslaterlearned the plan w aschanged because there were too m any people in the bathroom .
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   parted waysand M oreno wasobselwed walking back to them allentrancewhileholding thefunds

   envelope.

          Once Pinilla returned to the vehicle,his conversation w ith the CS continued. D uring this

   conversation,Pinilla infonned the CS thatbecause ofthe delay in paying M oreno,M oreno had

   leaked confidentialinform ation to the Colombian pressto dam age the CS's reputation.
                                                                                       4 Pinilla

   furtherstated thatM oreno w as satisfied w ith the m oney thathe and the CS had delivered to him

   and added thatM oreno wasexpecting an additional$30,000 delivered to him the following day.

   TheCS thendrovePinillatotheairportforhis(Pinilla's)tlightbackto Colombia.
          On June 17,2017,the follow ing day,Pinilla sent the CS a screenshot of an encrypted

   W hatsApp conversationbetweenhimself(Pinilla)andM orenoinwhichM orenoasked aboutthe
   statusofthe delivery ofthe restofthe fundsfrom the CS. Pinilla responded in the m essage to

   M orenothathehadinstructed theCS toobtain thefundsforhim (Moreno). Pinillacontinuedto
   urge the CS to provide the m oney to M oreno but the CS,at the direction of law enforcem ent,

   continued to delay the paym entin spite ofM oreno extending his stay in M iam ian additionalday.

   The last com m unication betw een Pinilla and the CS where the C S w as being urged to pay the

   rem aining m oney w as Sunday,June 18, 20l7, at 3:30 pm . M oreno left M iam i the follow ing

   afternoon.

          W hen M oreno left,a cursory outbound search w as conducted by Custom s and Boarder

   Protection Officers(CBP)ofM oreno and hiswife,Carolina Rico-Rodriguez (Rico),on thejet
   bridge atthe MiamiInternationalAirport(M lA)justbefore the departure oftheirflightfrom



   4 ltshould be noted thatshortly before M oreno's arrival, the CS wascontacted by a reporterfrom
   the M iam iHerald seeking an interview . The interview nevertook place and yesterday,June 22,
   2017,the M iam iHerald published a story concerning the CS.
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   M iam i to Bogota, Colom bia.s D uring the intelwiew and search, CBP officers found and

   photographed currency thatw asin thepossession ofboth M oreno and Rico. A depositreceiptfor

   a Chase bank account in the am ount of $1,000, dated June 18,2017,was found in Rico's

   possession. Rico was also in possession of three $100 bills which contained serialnum bers
   m atching the oftk ial ftm ds provided by D EA to the CS in the fbm ds envelope for delivery to

   M oreno.Additionally,M orenowasinpossession ofone$100billwhichcontained serialnum bers
   m atching the ofticialfundsgiven to the C S. The currency w asphotographed by CBP and returned

   to M oreno and ltico,who then proceeded to board their flight. During the encounter w ith CBP,

   Rico indicated thatwhile in M iam i,she purchased Bulgal'
                                                           iearringsand abracelet.

          OnJune20,2017,theCS sentPinillaaW hatsApp messageindicatinghe(theCS)hadthe
   rest of the m oney for M oreno w ith him in M iam i. The CS asked Pinilla to ask M oreno w hat

   M orenowantedhim (theCS)todowithit.PinillaimmediatelyansweredthatM orenoneededthe
   money inColombia. TheCS repliedthatheandhismoneywerein M iamiandthathe(theCS)
   wouldnotbetravelingto Colombia.Pinillaansweredthathe(Pinilla)wouldcheckwith Moreno
   and getback to the CS. To date,Pinilla hasnotresponded w ith M oreno's instnlctions.

          Based on the above,Ibelieve there isprobable causeto issue a com plaintcharging M oreno

   and Pinilla w ith conspiracy to com m it m oney laundering,in violation of Title 18,U nited States

   Code, Section 1956(h). Specitkally,M oreno and Pinilla knowingly combined,conspired,
   confederated,and agreed w ith each other to transport,transm itortransfer m onetary instrum ents

   orfundsfrom M iam ito Colom bia with theintentto prom ote the carrying on ofa specified unlaw ful




   5 A fullsearch w as notconducted fealing M oreno would suspecthe w as underinvestigation.
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   activity,thatisforeignbriberyaslistedinTitle 18,UnitedStatesCode,Section 1956(c)(7)(B)(iv).
   Importantly,the C olom bian A G 's O ffice has confirm ed thatM oreno's actionsconstitute bribery

   underColom bian law .

           FU RTH ER A FFIA N T SA Y ETH N AU G H T.




                                                                                -
                                                                                .   M
                                                                            W
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   beforemethisr rayofJune,20l7.
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   HO N ORA BLE CH RIS M .M CA LIL
   UN ITED STATES M A G ISTRATE JU D GE




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